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                                                                                    :212HAR 20 PH         3:
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                                                    cLJR:T
                                                                                                         OF TEXAS
                                    AUSTIN DIVISION                                           (   V-i'


UNITED STATES OF AMERICA,                         §        CR1r2fl                 1   Q5
                       Plaintiff,                 §                 INiHcIMNT
                                                  §
v.                                                §        [Violation: Count 1: 18 U.S.C. § 1956(h)
                                                           - Conspiracy to Launder Monetary
                                                  §
HUSSEIN AL! YASSINE,                              §        Instruments (Hussein Au Yassine,
a/k/a "Mike,"                                     §        Marisse Marthe Ruales, and Hadi All
MARISSE MARTHE RUALES,                            §        Yassine); Count 2: 18 U.S.C. §
a/k/a "Madi,"                                     §        1956(a)(3)(B) - Money Laundering
HADI AL! YASSINE,                                 §        (Marisse Marthe Ruales and
and MOHAMMED AL! YASSINE,                         §        Mohammed All Yassine); Counts 3-4:
a/k/a "Steve," a/k/a "Steve Austin,"              §        18 U.S.C. § 1956(a)(3)(B) - Money
                                                  §        Laundering (Hussein All Yassine,
                       Defendants.                §        Marisse Marthe Ruales, and Hadi All
                                                  §        Yassine); Count 5: 18 U.S.C. §
                                                  §        1956(a)(3)(B) - Money Laundering
                                                  §        (Hussein Au Yassine and Marisse
                                                  §        Marthe Ruales)]

THE GRAND JURY CHARGES:

                                             COUNT     1
                                 [18 U.S.C. § 1956(h), (a)(1)(B)(i)J

       From in or about October 2008, until the date of this indictment, in Austin, Texas, within the

Western District of Texas, the defendants: HUSSEIN AL! YASSINE, a/k/a "Mike," MARISSE

MARTHE RUALES, a/k/a "Madi," and HAD! ALl YASSINE did knowingly combine, conspire,

and agree with each other and with other persons known and unknown to the Grand Jury to commit

offenses against the United States in violation of Title 18, United States Code, Section 1956, to wit,

to knowingly conduct and attempt to conduct financial transactions affecting interstate commerce

and foreign commerce, which transactions the defendants believed involved the proceeds of
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specified unlawful activity, to wit, Title 21, United States Code, Sections 841(a)(1) and 846,

knowing that the transactions were designed in whole or in part to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of unlawful activity, and that while

conducting and attempting to conduct such financial transactions, knew that the property involved

in the financial transactions, represented the proceeds of some form of unlawful activity.

       In violation of Title 18, United States Code, Sections 1956(h), 1956(a)(1)(B)(i), and 2.

                                            COUNT 2
                                    [18 U.S.C. § 1956(a)(3)(B)]

       On or about September 19, 2008, in Austin, Texas, within the Western District of Texas,

defendants MARISSE MARTHE RUALES, a/kla "Madi," and MOHAMMED AL! YASSINE,

a/kla "Steve," a/k/a "Steve Austin," with the intent to disguise the nature, location, source,

ownership, and control of property, to wit, $6,000 in United States Currency, represented by a law

enforcement officer, to wit, a cooperating witness acting at the direction of the Federal Bureau of

Investigation, to be the proceeds of specified unlawful activity, to wit, the trafficking of narcotics

in violation of Title 21, United States Code, Sections 841 (a)( 1) and 846, did knowingly conduct and

attempt to conduct a financial transaction affecting interstate or foreign commerce involving such

property.

       In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                            COUNT 3
                                    [18 U.S.C. § 1956(a)(3)(B)]

       On or about October 10, 2008, in Austin, Texas, within the Western District of Texas,

defendants HUSSEIN ALl YASSINE, a/k/a "Mikë,"MARISSE MARTHE RUALES, a/k/a

"Madi," and HADI ALl YASSINE with the intent to disguise the nature, location, source,

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ownership, and control of property, to wit $8,500 in United States Currency, represented by a law

enforcement officer, to wit, a cooperating witness acting at the direction of the Federal Bureau of

Investigation, to be the proceeds of specified unlawful activity, to wit, the trafficking of narcotics

in violation of Title 21, United States Code, Sections 841 (a)( 1) and 846, did knowingly conduct and

attempt to conduct a financial transaction affecting interstate or foreign commerce involving such

property.

       In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                             COUNT 4
                                    [18 U.S.C. § 1956(a)(3)(B)]

       On or about April 30, 2009, in Austin, Texas, within the Western District of Texas,

defendants HUSSEIN ALl YASSINE, a/k/a "Mike," MARISSE MARTHE RUALES, a/k/a

"Madi," and HADI AL! YASSINE with the intent to disguise the nature, location, source,

ownership, and control of property, to wit, $100,000 in United States Currency, represented by a law

enforcement officer, to wit, a cooperating witness acting at the direction of the Federal Bureau of

Investigation, to be the proceeds of specified unlawful activity, to wit, the trafficking of narcotics

in violation of Title 21, United States Code, Sections 841 (a)( 1) and 846, did knowingly conduct and

attempt to conduct a financial transaction affecting interstate or foreign commerce involving such

property.

        In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                            COUNT 5
                                    [18 U.S.C. § 1956(a)(3)(B)1

        On or about June 24, 2009, in Austin, Texas, within the Western District of Texas,

defendants HUSSEIN AL! YASSINE, a/k/a "Mike" and MARISSE MARTHE RUALES, a/k/a


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"Math," with the intent to disguise the nature, location, source ownership, and control of property,

to wit $100,000 in United States Currency represented by a law enforcement officer, to wit, a

cooperating witness acting at the direction of the Federal Bureau of Investigation, to be the proceeds

of specified unlawful activity, to wit, the trafficking of narcotics in violation of Title 21, United

States Code, Sections 841(a)(1) and 846, did knowingly conduct and attempt to conduct a financial

transaction affecting interstate or foreign commerce involving such property.

       In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.
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    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE

                                                   I.
                    Money Laundering Forfeiture Statutes and Violations
                 [18 U.S.C. § 1956(h), (a)(1)(B)(i) and (a)(3)(B), and subject
          to forfeiture pursuant to 18 U.S.C. § 982(a)(1). See Fed. R. Crim. P. 32.2]

       As a result of the foregoing criminal violations as set forth in Counts One (1) through Five

(5) of the indictment, which are punishable by imprisonment for more than one year,

DEFENDANTS HUSSEIN ALl YASSINE, MARISSE MARTHE RUALES, HADI AL!

YASSINE, and MOHAMMED AL! YASSINE shall forfeit all right, title, and interest in the

below-described property to the United States, pursuant to       18   U.S.C. 982(a)(1), which states the

following:

        18 U.S.C. § 982(a)(1).
               (a)(1) The court, in imposing sentence on a person convicted of an offense in
               violation of section 1956, 1957, or 1960 of this title, shall order that the person forfeit
               to the United States any property, real or personal, involved in such offense, or any
               property traceable to such property.

       This Notice of Demand of Forfeiture includes, but is not limited to, the property described

in paragraph II:

                                             II.
                                  Money Judgment - $214,500.00

       As a result of the foregoing criminal violations as set forth in Counts One (1) through Five

(5) of the indictment, which are punishable by imprisonment for more than one year,

DEFENDANTS HUSSEIN ALl YASSINE, MARISSE MARTHE RUALES, HAD! ALl

YASSINE, and MOHAMMED ALl YASSINE shall forfeit all right, title, and interest to the

United States, pursuant to 18 U.S.C. 982(a)(1), the following described Money Judgment of

Forfeiture:


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         A sum of money equal to two-hundred-and-fourteen thousand five-hundred dollars
         in United States currency ($214,500.00), which represents property involved in the
         above-described offenses and/or property traceable to such property and for which
         DEFENDANTS HUSSEIN ALl YAS SINE, MARISSE MARTHE RUALES, HADI
         ALl YASS1NE, and MOHAMMAD ALT YASS1NE are jointly and severally liable.


                                                 III.
                                           Substitute Assets

         If the money judgments described in paragraph II, as a result of any act or omission of

DEFENDANTS HUSSEIN ALl YASSINE, MARISSE MARTHE RUALES, HAD! AL!

YASSINE, and MOHAMMED AL! YASSINE:

                  a.      carmot be located upon the exercise of due diligence;
                  b.      has been transferred or sold to, or deposited with, a third person;
                  c.      has been placed beyond the jurisdiction of the Court;
                  d.      has been substantially diminished in value; or
                  e.      has been commingled with other property which cannot be subdivided
                          without difficulty;

it is the intent of the United States of America to seek the forfeiture of any other property owned by

said defendants up to the value of the money judgment, as substitute assets pursuant to Title 21

U.S.C.   §   853(p) and Fed. R. Crim. P. 32.2(e)(1).

                                                         A TRTI1TLU

                                                        ORIGINAL SIGNATURE
                                                                                        -7
                                                    REDACTED PURSUANT TO
                                                   EGOVERNMENT ACT OF 2002
JOHN E. MURPHY
ATTORNE       THE UNITED STATES,
   TINAUTH0RITY         CONFERRED BY 28 U.S.C. §515



         GREGG N, SOFER
         Assistant U. S. Attorney


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